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    12                                 UNITED STATES DISTRICT COURT
    13                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
    14     UNITED STATES OF AMERICA,                 No. CR 19-00353-MWF
    15                    Plaintiff,                 PLEA AGREEMENT FOR DEFENDANT
                                                     DREW JOSEPH HENRY
     16                        V.


    17     DREW JOSEPH HENRY,
    18                    Defendant.
    19
    20             1.      This constitutes the plea agreement between DREW JOSEPH
    21     HENRY ("defendant") and the United States Attorney's Office for the
    22     Central District of California (the "USAO") in the above-captioned
    23     case.        This agreement is limited to the USAO and cannot bind any
1)/vf 24   other federal, state, local, or foreign prosecuting, enforcement,
8.23.23
    25     administrative, or regulatory authorities.
    26     II
    27     II
    28     II
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